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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                        WESTERN DIVISION - CINCINNATI

MAHAAMAD
ABURRAHEEM, et. al,                              Case No. l:20-cv-206

       Plaintiffs,                               Judge Matthew W. McFarland

vs.

AARON JONES, et al.,

       Defendants.


      ENTRY AND ORDER ADOPTING REPORT AND RECOMMENDATIONS


       The Court has reviewed the Report and Recommendations of United States

Magistrate Judge Stephanie K. Bowman (Doc. 10), to whom this case is referred pursuant

to 28 U.S.C. § 636(b), and noting that no objections have been filed thereto and that the

time for filing such objections under Fed. R. Civ. P. 72(b) has expired, hereby ADOPTS

said Report and Recommendations in its entirety. Accordingly, the Court DENIES

Plaintiff's motion to reopen this case. Further, the Court DENIES Plaintiff's leave to

appeal in forma pauperis.

       IT IS SO ORDERED.

                                                 UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF OHIO


                                           By:   ~vJ,®
                                                 JUDGE MATTHEW W. McFARLAND
